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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-1621V
                                       (not to be published)

    ************************* *
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    GARY WARD,                  *
                                *
                                *                            Special Master Katherine E. Oler
                    Petitioner, *
                                *
    v.                          *
                                *                            Filed: April 19, 2021
                                *
    SECRETARY OF HEALTH AND     *
    HUMAN SERVICES,             *                            Order Concluding Proceedings;
                                *
                                *                            Vaccine Rule 21(a).
                    Respondent. *
                                *
    ************************* *
Bradley Freedberg, Bradley S. Freedberg, P.C., Denver, CO, for Petitioner
Sarah Duncan, U.S. Department of Justice, Washington, DC, for Respondent

                             ORDER CONCLUDING PROCEEDINGS1

       On April 19, 2021, the parties filed a Joint Stipulation of Dismissal in the above-captioned
case. ECF No. 33.

       Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned case is hereby
dismissed without prejudice. The Clerk of the Court is hereby instructed that a judgment shall
not enter in the instant case pursuant to Vaccine Rule 21(a).

       Any questions regarding this Order may be directed to my law clerk, Sydney Lee, by email
at Sydney_Lee@cfc.uscourts.gov.

        IT IS SO ORDERED.
                                                                      s/ Katherine E. Oler
                                                                      Katherine E. Oler
                                                                      Special Master

1
  Although this Order has been formally designated “not to be published,” it will nevertheless be posted on
the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501
(2012). This means the Order will be available to anyone with access to the internet. As provided by
42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Order’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or commercial or
financial in substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
Otherwise, the Order in its present form will be available. Id.
